      Case: 18-1464                 Document: 00713181811                   Filed: 03/16/2018         Pages: 2



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                        Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                              Phone: (312) 435-5850
             Chicago, Illinois 60604                                                    www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 March 16, 2018


To:            Justine Flanagan
               UNITED STATES DISTRICT COURT
               Southern District of Illinois
               East St. Louis , IL 62201-0000



                                         KURT JOHNSON,
                                         Petitioner - Appellant

 No. 18-1464                             v.

                                         TODD SLOOP,
                                         Respondent - Appellee

  Originating Case Information:

 District Court No: 3:17-cv-01010-DRH
 Southern District of Illinois
 District Judge David R. Herndon
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  TYPE OF DISMISSAL:                                              F.R.A.P. 42(b)



  STATUS OF THE RECORD:                                           no record to be returned
   Case: 18-1464          Document: 00713181811                  Filed: 03/16/2018         Pages: 2



NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

                           -----------------------------------




 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:


 _________________________                            ____________________________________




 form name: c7_Mandate(form ID: 135)
